                 Case 6:09-cr-00048-LGW-CLR Document 1128 Filed 05/28/15 Page 1 of 1
A024?(10/ll)   AnendedOrderR€sardinsMotionfbr Sentence                                            1 of 2 (Page2 Not for PublicDis,
                                                     R€ducljonPuNuanlto 18U S.C S .l582(c)(2) Pa-qe


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                                                                            for the
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                                                                                                                            ?0l5lltY
                                                             SouthernDistrict of Georgia
                                                                StatesboroDivision
                     United Statesof America

                                                                                  CaseNo:          6:09CR00048-33
                          Genaro Barrientos                                       USM No:          616:9-019

Date of OriginalJudgment:       September27,2010 Hal Roach,Jr.
Dateof PreviorrsAmendedJudgment:May 27,2015     ) Defendant'sAttorney
((ise Date of Last Anended JudgmenL fany)


             Amended Order Regarding Motion for SentenceReductionPursuant to 18 U.S.C,S 3582(cX2)
           Reasonfor Amendment: [X] Correction of Sentencefor Arithm€tical Error (Fed.R.Crim,P.35(a))


          Upon motionof [Xlthe defendantEthe                       Directorof the Bureauof PrisonsEthe court under l8 U,S.C.

S 3582(cX2)for a reductionin the term of imprisonmentimposedbasedon a guidelinesentencing     rangethat has
subsequentlybeenlo*ered and maderetroactiveby the United StatesSentencing      Commission  pursuant to 28 U.S.C.
S 994(u),and having considered  such motion,and taking into accountthe polic.v        set
                                                                              statement   forth at USSG  $ lBl.t0 and
the sentencingfactorssetforth in 18 U.S.C.S 3553(a).to the extentthatthey are applicable,


I T I S O R D E R L D t h a tt h em o l i o ni s :
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                                                   previously imposedsentenceof imprisonment/dsfe,'7e
                                                                                                   ctedn thetastiudsmenl
                 LXIGRANTED and the deiendant's
rssued of     I15      monthsis reducedto 92 months


                                              (Conplete PqrtsI and II of Page 2 u,henmolion is grasted)




Except as otherwiseprovided above. all provisions ofthe judgment dated                                       2010 shall

IT IS SO ORDERED.
                             ll
orderDare: 3lQ8l/5


                                                                                   Dudley H. Bowen,Jr.
EffectiveDate:           N o r e r n b el .r2 0 1 5                                United StatesDistrictJudee
                      (if ddferent;fion order date)                                                       Printed name ancl title
